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 1    JOHN J. NOTAR
      California State Bar No. 332716
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      100 11 Ave, PHB
 3    New York, NY 10011
      Telephone: (703) 727-1685
 4    jacknotarlaw@gmail.com
 5    Attorney for Yoga Buddhi Co.
 6
                           UNITED STATES DISTRICT COURT
 7
                        NORTHERN DISTRICT OF CALIFORNIA
 8
                                       OAKLAND DIVISION
 9
      EPIC GAMES INC.,
10                                                CASE NO.: 4:20-cv-05640-YGR-TSH
                          Plaintiff,
11
            v.                                    MOTION TO           WITHDRAW         AS
12                                                ATTORNEY
      APPLE INC.,
13
                          Defendant.
14                                                Hon. Yvonne Gonzalez Rogers
15          TO THE COURT, THE ELECTRONIC FILING ADMINISTRATOR, ALL
16    PARTIES AND THEIR COUNSEL OF RECORD:
17          PLEASE TAKE NOTICE that I, John Notar, motion this Court to withdraw
18    my appearance as attorney of record for third-party respondent Yoga Buddhi Co.
19    in the above-captioned action. The undersigned is in the process of closing their
20    private practice to accept a position with a state government agency and will no
21    longer be available to represent clients in private matters. I have given Yoga Buddhi
22    Co. written notice reasonably in advance, and they shall obtain substitute counsel
23    of record in this action.
24
25
                                            Respectfully submitted,
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27
       Dated: May 9, 2025                   s/ John Notar
28                                          Attorney for YOGA BUDDHI CO.
     Case 4:20-cv-05640-YGR   Document 1548    Filed 05/09/25   Page 2 of 2



 1                                      Email: jacknotarlaw@gmail.com
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          MOTION TO SUPPRESS STATEMENTS AND FRUITS OF UNLAWFUL STOP AND SEARCH
